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                    a.   cannot be located upon the exercise ofdue diligence;

                    b.   has been transferred or sold to, or deposited     with,   a   third party;

                    c.   has been placed beyond the       jurisdiction of the Court;

                    d.   has been substantially diminished in value; or

                    e.   has been commingled    with other property that cannot be divided without

                         difficulty;

 the defendants shall forfeit to the United States any other property of the defendant, up to the

 value of the property described above, pursuant to Title 21, United States Code, Section 853(p).

         40.    Criminal Forfeiture, pursuant to Title 18, United States Code, Sections

 981(a)(1XC), 982(a)(l), and982(a)(2XA), Title 21, United States Code, Section 853(p), and

 Title 28, United States Code, Section 2a6l@).


 A TRUE BILL, this     Zf   day of     August2}2l.


                                                                   s/foreoerson
                                                                   FOREPERSON


 D      P. BUBAR
 ACTING LINITED STATES ATTORNEY




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